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15
16                  IN THE UNITED STATES DISTRICT COURT
17                   NORTHERN DISTRICT OF CALIFORNIA
18   JONATHAN HOANG TO, individually )         CASE NO.: 3:24-CV-06447-WHO
     and on behalf of all others similarly )
19   situated,                             )   JOINT STIPULATION TO
                                           )   REMAND
20               Plaintiff,                )
                                           )   Initial CMC Date: December 17, 2024
21          v.                             )   Time:              2:00 PM
                                           )
22   DIRECTTOU, LLC,                       )
                                           )
23               Defendant.                )
                                           )
24                                         )
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                                                             JOINT STIPULATION TO REMAND
                                                                CASE NO.: 3:24-CV-06447-WHO
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 1         Defendant DirectToU, LLC (“Defendant”) and Plaintiff Jonathan Hoang To
 2   (“Plaintiff” and, together with Defendant, the “Parties”), hereby file this Stipulation
 3   respectfully seeking an order from the Court remanding this action to the Superior
 4   Court for the State of California, County of Alameda (“Stipulation”). The Parties
 5   file this Stipulation based on the following facts:
 6         1.     On August 12, 2024, Plaintiff filed this action in the Superior Court for
 7   the State of California, County of Alameda.
 8         2.     On September 12, 2024, Defendant removed this action to this Court.
 9         3.     On the evening of October 23, 2024, the Parties executed a class
10   settlement agreement, subject to Court approval.
11         4.     In order to avoid any issues related to standing that may impact this
12   Court’s Article III jurisdiction over the settlement, the Parties have agreed that this
13   matter should be remanded to the Superior Court for the State of California, County
14   of Alameda, so that the Parties may seek approval of the proposed settlement from
15   the California state court of general jurisdiction.
16         IT IS SO STIPULATED.
17   Dated: October 28, 2024                 Respectfully submitted,
18                                           BAKER & HOSTETLER LLP
19
20                                           By:     /s/Teresa C. Chow
                                                     Teresa C. Chow
21
22                                           Attorneys for Defendant
                                             DIRECTTOU, LLC
23
24   Dated: October 28, 2024                 Respectfully submitted,
25                                           HAMMONDLAW, P.C.
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27                                           By:     /s/Julian Hammond
                                                     Julian Hammond
28                                             -2-
                                                                    JOINT STIPULATION TO REMAND
                                                                       CASE NO.: 3:24-CV-06447-WHO
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 1                                           Attorneys for Plaintiff
 2
 3                                    ATTESTATION
 4         Pursuant to Civil Local Rule 5-1(i)(3), I, Julian Hammond, hereby certify
 5   that I have obtained the concurrence in the filing of this document from all
 6   signatories listed above. I further attest that I have on file records to support this
 7   concurrence for subsequent production to the Court if so ordered for inspection
 8   upon request.
 9
10   Dated: October 28, 2024                        /s/ Julian Hammond
11
12   PURSUANT TO STIPULATION, IT IS SO ORDERED.
13
14   Dated: _________________
15                                                  Hon. William H. Orrick
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                                                                       JOINT STIPULATION TO REMAND
                                                                          CASE NO.: 3:24-CV-06447-WHO
